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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

GONZALO MORALES,                                      )
                                                      )
               Plaintiff,                             )       Case No. 1:18-cv-003210
                                                      )
        vs.                                           )       Honorable Judge
                                                      )        John J. Tharp
EXTRA MILE PAINTING COMPANY,                          )
and JAMES FAIRBANKS,                                  )
                                                      )
               Defendants.                            )

       DEFENDANTS’ OFFER OF JUDGMENT PURSUANT TO FED. R. CIV. P. 68

TO:     Paul Luka
        Mendoza Law, P.C.
        120 S. State St., Ste. 400
        Chicago, IL 60603
        paul@alexmendozalaw.com

        Defendants, Extra Mile Painting Company (“EMPC”) and James Fairbanks,

(“Fairbanks”) (collectively referred to herein as “Defendants”), by their attorneys, Gaffney &

Gaffney, P.C., and pursuant to Fed. R. Civ. P. 68, make the following Offer of Judgment to

Plaintiff:

        1.     Gonzalo Morales is the Plaintiff in this action and has asserted claims against

Defendants, Extra Mile Painting Company and James Fairbanks.

        2.     Pursuant to Fed. R. Civ. P. 68, Defendants hereby offer to allow entry of

Judgment against them in the amount of $3,000.00. If this offer is accepted, Plaintiff shall be

entitled to Judgment in the total amount of $3,000.00 plus reasonable costs and reasonable

attorney fees incurred as of September 13, 2018, but not thereafter, on Plaintiff’s claims as filed

within Plaintiff’s Complaint, but on no other claims of Plaintiff, such as Plaintiff’s claims of

discrimination filed with the Illinois Department of Human Rights. Judgment in one total
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amount shall be on a joint and several basis against both Defendants but Plaintiff shall be entitled

to only one collection thereof.

         3.    Defendants’ offer is unconditional and is made to fully and finally resolve all

claims asserted against them in this action. This offer of judgment is made for the purposes

specified in Federal Rule of Civil Procedure 68 and shall not be construed as either an admission

of liability or that Plaintiff has suffered any damages. Acceptance hereof shall result in a final

and binding judgment on all parties, fully and finally resolving all claims, terminating the

litigation and barring further action pursuant to the doctrine of res judicata.

         4.    Defendants agree to pay Plaintiff’s reasonable costs and attorney fees incurred in

this action only as of September 13, 2018, but not thereafter. Fees and costs shall be not be

payable on any other claims of Plaintiff such as Plaintiff’s claims of discrimination filed with the

Illinois Department of Human Rights.

         5.     The amount of Plaintiff’s reasonable attorneys’ fees and costs shall be

determined either by agreement of the parties or by the Court upon petition.

         6.    If Plaintiff does not accept this offer in writing within ten (10) days after service

hereof, then Defendants’ offer shall be deemed withdrawn.

         7.    If Plaintiff does not accept this offer, he may be prohibited from seeking costs or

attorney fees after the making of this offer and Plaintiff may be required to pay Defendants’

costs.

                                               /s/ Glenn R. Gaffney_________
                                               Glenn R. Gaffney
                                               One of Defendants’ Attorneys


Glenn R. Gaffney (No. 6180598)
Gaffney & Gaffney P.C.
1771 Bloomingdale Road

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Glendale Heights, IL 60139
(630) 462-1200
Fax (630) 462-7698
glenn@gaffneylawpc.com

                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 13, 2018, I served the foregoing Defendant’s Offer of

Judgment Pursuant to Fed. R. Civ. P. 68 to Plaintiff’s attorney, electronically via email with

read receipt requested, as follows:

       Paul Luka
       Mendoza Law, P.C.
       120 S. State St., Ste. 400
       Chicago, IL 60603
       paul@alexmendozalaw.com


                                            __/s/ Glenn R. Gaffney__________
                                            Glenn R. Gaffney
                                            One of Defendants’ Attorneys




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